                                    Case 20-32548-swe7                 Doc 61    Filed 07/29/22
                                                                                          FORM 1
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                                                                      INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                Page:       1
                                                                                            ASSET CASES
Case No:          20-32548      SWE    Judge: SCOTT W. EVERETT                                                                Trustee Name:                     DANIEL J. SHERMAN, TRUSTEE
Case Name:        EXAMINATION MANAGEMENT SERVICES, IN                                                                        Date Filed (f) or Converted (c):   10/06/20 (f)
                                                                                                                             341(a) Meeting Date:               11/10/20
For Period Ending: 06/30/22    (2nd reporting period for this case)                                                          Claims Bar Date:                   02/08/21



                                   1                                           2                        3                         4                         5                                 6
                                                                                               Estimated Net Value
                                                                           Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                            Asset Description                             Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                (Scheduled and Unscheduled (u) Property)                    Values              and Other Costs)          OA=554(a) Abandon             the Estate

 1. BMO HARRIS BANK - CHECKING 1235                                            Unknown                            0.00                                               0.00                  FA


 2. WELLS FARGO CHECKING - 4451                                                Unknown                            0.00                                               0.00                  FA


 3. WELLS FARGO CHECKING - 4485                                                Unknown                            0.00                                               0.00                  FA


 4. WELLS FARGO CHECKING - 4477                                                Unknown                            0.00                                               0.00                  FA


 5. WELLS FARGO CHECKING - 9242                                                Unknown                            0.00                                               0.00                  FA


 6. WELLS FARGO CHECKING - 9316                                                Unknown                            0.00                                               0.00                  FA


 7. WELLS FARGO CHECKING 8491-                                                 Unknown                            0.00                                               0.00                  FA


 8. WELLS FARGO CHECKING - 9261                                                Unknown                            0.00                                               0.00                  FA


 9. WELLS FARGO CHECKING - 9276                                                Unknown                            0.00                                               0.00                  FA


 10. WELLS FARGO CHECKING - 4469                                               Unknown                            0.00                                               0.00                  FA


 11. WELLS FARGO CHECKING - 4493                                               Unknown                            0.00                                               0.00                  FA


 12. WELLS FARGO CD                                                          600,281.00                     600,281.00                                          14,476.10                  FA


 13. AMLI AT ESCENA - SECURITY DEPOSIT                                         1,327.00                       1,327.00                                               0.00                  FA




LFORM1                                                                                                                                                                                                    Ver: 22.06b
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                                 1                                      2                        3                         4                         5                                 6
                                                                                        Estimated Net Value
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              (Scheduled and Unscheduled (u) Property)               Values              and Other Costs)          OA=554(a) Abandon             the Estate

 14. BHS, LLC - SECURITY DEPOSIT                                        3,200.00                      3,200.00                                                0.00                  FA


 15. DON FLOBERG DBA BROADWATER SQUARE - SECURITY DEP                   1,232.00                      1,232.00                                                0.00                  FA


 16. GUARDIAN PROPERTIES OF COLLEGE AVE., LLC - SEC DEP                 1,300.00                      1,300.00                                                0.00                  FA


 17. RVC ASSOCIATES, LP - SECURITY DEPOSIT                              4,000.00                      4,000.00                                                0.00                  FA


 18. ST. JOHN PROPERTIES - SECURITY DEPOSIT                             1,451.75                           0.00                                               0.00                          0.00


 19. PAJAMA PROPERTIES - SECURITY DEPOSIT                               3,401.53                      3,401.53                                                0.00                  FA


 20. BROOKMAT CORPORATION - SECURITY DEPOSIT                            3,940.00                      3,940.00                                                0.00                  FA


 21. DAVENPORT/LUCAS LIVIGN TRUST - SECURITY DEPOSIT                    2,146.00                      2,146.00                                                0.00                  FA


 22. HUDSON VENTURES, LP - SECURITY DEPOSIT                             3,066.00                      3,066.00                                                0.00                  FA


 23. GIJV OH LC (RREEF AMERICAN) KEMPER FAIRFIELD - SEC                 2,453.10                      2,453.10                                                0.00                  FA


 24. CAUSEWAY PARTNERS, LLC - SECURITY DEPOSIT                          1,819.43                      1,819.43                                                0.00                  FA


 25. BRASS CENTERVIEW HOLDING - SECURITY DEPOSIT                        2,114.91                      2,114.91                                                0.00                  FA


 26. NORMAN & NOWAIN LLC - SECURITY DEPOSIT                             4,906.20                      4,906.20                                                0.00                  FA




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                                                                                           Estimated Net Value
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 27. LAKESIDE CENTER, LLC - SECURITY DEPOSIT                               2,115.95                       2,115.95                                               0.00                  FA


 28. 11717 LLC - SECURITY DEPOSIT                                          9,000.00                       9,000.00                                               0.00                  FA


 29. HERITAGE PLACE/ADVANCED REALITY DEP - SEC DEP                         3,739.58                       3,739.58                                               0.00                  FA


 30. FRANZ FAMILY PROPERTIES - SECURITY DEPOSIT                            5,000.00                       5,000.00                                               0.00                  FA


 31. GLEN EAGES COUNTRY CLUB - CLUB DEPOSIT                              31,500.00                       31,500.00                                               0.00                       31,500.00


 32. TOKIO MARINE HCC SURETY GROUP - COLLATERAL SEC                     100,000.00                      100,000.00                                               0.00                    100,000.00


 33. TAXCONNEX - INITIAL REFUNDABLE DEPOSIT                                1,000.00                       1,000.00                                               0.00                         1,000.00


 34. CLARK COUNTY - SECURITY DEPOSIT                                       5,000.00                       5,000.00                                               0.00                         5,000.00


 35. PREPAID INSURANCE                                                  368,672.37                      368,672.37                                               0.00                    368,672.37


 36. PREPAID POSTAGAE                                                    18,439.75                       18,439.75                                               0.00                       18,439.75


 37. OTHER PREPAYMENTS                                                  834,565.26                      834,565.26                                               0.00                    834,565.26
     MAINTENANCE AGREEMENTS, PREPAID CONFERENCE
     ATTENDANCE


 38. ACCT. RECEIVABLE (90 DAYS OLD OR LESS)                           11,496,596.23                 11,496,596.23                                           74,359.33                 11,422,236.90
     11,635,609.23 - UNCOLLECTIBLE 139,013.00 = $11,496,596.23



LFORM1                                                                                                                                                                                                   Ver: 22.06b
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 39. MEDICAL TESTING SUPPLIES                                           96,711.00                         96,711.00                                               0.00                     96,711.00


 40. MEDICAL TESTING SUPPLIES                                          219,364.00                        219,364.00                                               0.00                    219,364.00


 41. FURNITURE AND FIXTURES                                             17,708.16                         17,708.16                                               0.00                     17,708.16


 42. OFFICE EQUIPMENT                                                   61,207.17                         61,207.17                                               0.00                     61,207.17


 43. OFFICE EQUIPMENT                                                   44,807.60                         44,807.60                                          13,170.00                     31,637.60


 44. COMPUTER EQUIPMENT                                               1,020,778.54                      1,020,778.54                                              0.00                  1,020,778.54


 45. COMPUTER SOFTWARE                                                3,876,037.97                      3,876,037.97                                              0.00                  3,876,037.97


 46. AUTOMOBILE                                                           2,129.51                          2,129.51                                              0.00                         2,129.51


 47. ALCOHOL TESTING EQUIPMENT                                               567.07                          567.07                                               0.00                          567.07


 48. LEASEHOLD IMPROVEMENTS                                            172,013.26                        172,013.26                                               0.00                    172,013.26


 49. TRADEMARKS                                                          Unknown                           Unknown                                                0.00               Unknown
     BOOK VALUE - $2,152,417.83


 50. INTERNET DOMAIN NAMES AND WEBSITES                                  Unknown                           Unknown                                                0.00               Unknown




LFORM1                                                                                                                                                                                                    Ver: 22.06b
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 51. LICENSES - HEWLETT PACKARD LICENSES                                                    Unknown                           Unknown                                                    0.00                 Unknown
     NET BOOK VALUE: $137,422.19


 52. VELO CLOUD LICENSES                                                                    Unknown                           Unknown                                                    0.00                 Unknown
     NET BOOK VALUE - $71,108.19


 53. CUSTOMER LISTS/MAILING LISTS/OTHER COMPILATIONS                                        Unknown                           Unknown                                                    0.00                 Unknown
     CUSTOMER NETWORK AND RELATIONSHIP - NET BOOK
     VALUE - $606,204.86


 54. CREDIT BALANCE REFUND ON WELLS FARGO CC (u)                                                 0.00                             66.44                                                 66.44                     FA

                                                                                                                                                                                                   Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                   $19,023,592.34                     $19,022,207.03                                            $102,071.87                   $18,279,568.56
                                                                                                                                                                                                   (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   TRUSTEE IS ATTEMPTING TO COLLECT FUNDS DEPOSITED FOR A BOND. TRUSTEE WILL EMPLOY CONTINGENCY FEE COUNSEL TO PURSUE
   INSURANCE CLAIMS. ACCOUNTANT EMPLOYED. CLAIMS TO BE REVIEWED AND OBJECTIONS FILED. ESTIMATED DATE OF CLOSING IS
   11/01/2023.


   Initial Projected Date of Final Report (TFR): 11/01/21           Current Projected Date of Final Report (TFR): 11/01/23




LFORM1                                                                                                                                                                                                                           Ver: 22.06b
